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12 CREDIT ACCEPTANCE CORPORATION

13
                                     UNITED STATES DISTRICT COURT
14
                 EASTERN DISTRICT OF CALIFORNIA — SACRAMENTO DIVISION
15
     MARIAH BOYKINS,
     MARIAN                                        Case No. 2:16-cv-01448-JAM-AC
16                                                 Hon. John A. Mendez
                                                                  th
                        Plaintiff,                 Courtroom 6, 14
                                                                14th Floor
17
               vs.                                 NOTICE OF SETTLEMENT
18
   CREDIT ACCEPTANCE CORPORATION,                  Action Filed:   May 16, 2016
19 and DOES 1 through 10, inclusive,

20                      Defendant.
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     10858.0062/8975116.1
                                                                         NOTICE OF SETTLEMENT
        Case 2:16-cv-01448-JAM-AC Document 6 Filed 10/25/16 Page 2 of 3


 1            PLEASE TAKE NOTICE THAT
                                 THAT Plaintiff
                                      Plaintiff Mariah
                                                Mariah Boykins
                                                       Boykins (“Plaintiff”)
                                                                ("Plaintiff') and Defendant
 2 Credit Acceptance Corporation (“Credit
                                 ("Credit Acceptance”)
                                          Acceptance") (collectively the “parties”)
                                                                         "parties") have reached an
 3 agreement on all material terms required to settle this matter and are in the process of documenting

 4 said settlement.

 5            The parties anticipate that the performance of the terms of the settlement agreement will be

 6 completed within sixty (60) days of the date of this notice, at which time Plaintiff shall file a

 7 Stipulation for Dismissal of this matter.

 8            All other signatories listed, and on whose behalf the filing is submitted, concur in the
 9 filing’s content and
   filing's content and have authorized the filing.

10 DATED: October
          October 25, 2016                       SEVERSON & WERSON
                                                 A Professional Corporation
11

12

13                                               By:           /s/ Courtney C. Wenrick
                                                               Is/
                                                                    Courtney C. Wenrick
14
                                                 Attorneys for Defendant CREDIT ACCEPTANCE
15                                               CORPORATION
16
          October 25, 2016
17 DATED: October                                THE LAW OFFICE OF L. PAUL MANKIN

18
19                                               By:           /s/ L. Paul Mankin
20                                                                     L. Paul Mankin

21                                               Attorneys for Plaintiff MARIAH BOYKINS

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     10858.0062/8975116.1
                                                                                    NOTICE OF SETTLEMENT
        Case 2:16-cv-01448-JAM-AC Document 6 Filed 10/25/16 Page 3 of 3


 1                                          PROOF OF SERVICE

 2       At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Orange, State of California. My business address is The Atrium,
 3 19100 Von Karman Avenue, Suite 700, Irvine, CA 92612.

 4        On October 25, 2016, I served true copies of the following document(s): NOTICE OF
     SETTLEMENT on the interested parties in this action as follows:
 5
   L. Paul Mankin, Esq.                                   Attorneys for Plaintiff
 6 The Law Office of L. Paul Mankin                       Mariah Boykins
   4655 Cass St., Suite 112
 7 San Diego, CA 92109                                    Telephone:     800-219-3577
                                                          Facsimile:     323-207-3885
 8                                                        E-Mail:        pmankinaDaulmankin.com
                                                                         Dmankinanaulmankin.com

 9 [X]     BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
10 who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
   who are not registered CM/ECF users will be served by mail or by other means permitted by the
11 court rules.

12        I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct. I declare that I am employed in the office of a member of the bar of
13 this Court at whose direction the service was made.

14             Executed on October 25, 2016, at Irvine, California.
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     10858.0062/8975116.1
                                                                                     PROOF OF SERVICE
